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 1 MICHAEL W. BIEN – 096891                         OREN NIMNI*
   ERNEST GALVAN – 196065                            Mass. Bar No. 691821
 2 KARA J. JANSSEN – 274762                         AMARIS MONTES*
   GINGER JACKSON-GLEICH – 324454                    Md. Bar No. 2112150205
 3 ROSEN BIEN                                       D DANGARAN*
   GALVAN & GRUNFELD LLP                             Mass. Bar No. 708195
 4 101 Mission Street, Sixth Floor                  RIGHTS BEHIND BARS
   San Francisco, California 94105-1738             416 Florida Avenue N.W. #26152
 5 Telephone: (415) 433-6830                        Washington, D.C. 20001-0506
   Email:       mbien@rbgg.com                      Telephone: (202) 455-4399
 6              egalvan@rbgg.com                    Email:       oren@rightsbehindbars.org
                kjanssen@rbgg.com                                amaris@rightsbehindbars.org
 7              gjackson-gleich@rbgg.com                         d@rightsbehindbars.org
 8 SUSAN M. BEATY – 324048                          *
                                                     Pro hac vice applications pending
   CALIFORNIA COLLABORATIVE FOR
 9 IMMIGRANT JUSTICE
   1999 Harrison Street, Suite 1800
10 Oakland, California 94612-4700
   Telephone: (510) 679-3674
11 Email:       susan@ccijustice.org
12 Attorneys for Plaintiffs
13                               UNITED STATES DISTRICT COURT
14                 NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
15 CALIFORNIA COALITION FOR WOMEN                           Case No. 3:23-cv-04155
   PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.;
16 G.M.; A.S.; and L.T., individuals on behalf of           DECLARATION OF DIANA
   themselves and all others similarly situated,            BLOCK IN SUPPORT OF
17               Plaintiffs,                                PLAINTIFFS’ MOTION FOR
                                                            PRELIMINARY INJUNCTION
18        v.                                                AND PROVISIONAL CLASS
                                                            CERTIFICATION
19 UNITED    STATES OF AMERICA FEDERAL
   BUREAU OF PRISONS, a governmental entity;
20 BUREAU     OF PRISONS DIRECTOR COLETTE
   PETERS, in her official capacity; FCI DUBLIN             Trial Date:         None Set
21 WARDEN      THAHESHA JUSINO, in her official
   capacity; OFFICER BELLHOUSE, in his
22 individual capacity; OFFICER GACAD, in his
   individual capacity; OFFICER JONES, in his
23 individual capacity; LIEUTENANT JONES, in
   her individual capacity; OFFICER LEWIS, in his
24 individual capacity; OFFICER NUNLEY, in his
   individual capacity, OFFICER POOL, in his
25 individual capacity, LIEUTENANT PUTNAM, in
   his individual capacity; OFFICER SERRANO, in
26 his individual capacity; OFFICER SHIRLEY, in
   his individual capacity; OFFICER SMITH, in his
27 individual capacity; and OFFICER VASQUEZ, in
   her individual capacity,
28               Defendants.
     [4339655.1]                                                           Case No. 3:23-cv-04155
             DECLARATION OF DIANA BLOCK IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY
                          INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
         Case 4:23-cv-04155-YGR Document 11-3 Filed 08/17/23 Page 2 of 5




 1                                    DECLARATION OF DIANA BLOCK
 2                 I, Diana Block, declare:
 3                 1.    I am a party in the above-entitled action. I have personal knowledge of the
 4 facts set forth herein, and if called as a witness, I could and would competently so testify.
 5 I make this declaration based in support of Plaintiffs’ Motion for Preliminary Injunction
 6 and Provisional Class Certification.
 7                 2.    I am a member of the leadership of California Coalition for Women
 8 Prisoners (“CCWP”) and am authorized to make representations on behalf of CCWP in the
 9 above captioned matter.
10                 3.    CCWP is a membership organization whose members constitute currently
11 and formerly incarcerated women and transgender individuals.
12                 4.    CCWP’s mission is, among other things, to challenge the institutional
13 violence imposed on women, transgender people, and communities of color by the prison
14 industrial complex.
15                 5.    In seeking to accomplish its mission CCWP prioritizes the voices of those
16 inside prison and has a leadership and membership entirely comprised of currently and
17 formerly incarcerated people.
18                 6.    Currently CCWP has a membership of approximately 220 members.
19 Approximately 120 of these members are currently incarcerated and 100 are currently
20 outside prison or jail.
21                 7.    CCWP was founded in 1995 after women filed lawsuit against the California
22 Prison system alleging inadequate medical care.
23                 8.    Currently incarcerated members reside in the following facilities:
24                       •      FCI Dublin
25                       •      Central California Women’s Facility
26                       •      California Institute for Women
27                       •      San Francisco County Jail
28                       •      Alameda County Jail
     [4339655.1]                                 2                         Case No. 3:23-cv-04155
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         Case 4:23-cv-04155-YGR Document 11-3 Filed 08/17/23 Page 3 of 5




 1                 9.    Among other services, CCWP advocates for members on the inside,
 2 including advocacy for services and medical care, provide mutual aid, and provides
 3 services and information regarding reentry after incarceration.
 4                 10.   Most incarcerated members correspond regularly with CCWP through the
 5 “Writing Warriors” program, one of CCWP’s 10 working groups.
 6                 11.   Incarcerated members, along with receiving services and participating in the
 7 Writing Warriors program are also provided copies of “the Fire Inside” a newsletter by,
 8 for, and about those incarcerated in women’s prisons in the United States.
 9                 12.   Members make all decisions within and governing CCWP. Day to day
10 decisions are made by a coordinating committee comprised of members and the whole
11 membership has the ability to vote on larger structural changes to the organization.
12                 13.   Since CCWP’s inception we have received communication from those in
13 FCI Dublin concerning conditions in the facility, including sexual abuse perpetrated by
14 guards.
15                 14.   These communications have only increased in recent years and many of our
16 members have reported sexual abuse committed by officers who have been criminally
17 charged and indicted for such abuse.
18                 15.   We regularly hear reports of sexual harassment, abuse, and retaliation from
19 members in FCI Dublin. These reports come to us via letter, telephone call, and through
20 numerous in person visits we have made to members or potential members inside FCI
21 Dublin.
22                 16.   Our members have been severely injured both by the sexual abuse itself as
23 well as by the retaliation against those that report which include being punished with
24 housing restrictions and unnecessary cell searches.
25                 17.   Our members in FCI Dublin remain in constant fear of sexual assault and
26 retaliation because of the long history of such actions at FCI Dublin and because of the
27 continuing system of impunity at the facility.
28                 18.   Our members are at regular risk of harm at FCI Dublin and, as a result,
     [4339655.1]                                 3                         Case No. 3:23-cv-04155
             DECLARATION OF DIANA BLOCK IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY
                          INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
         Case 4:23-cv-04155-YGR Document 11-3 Filed 08/17/23 Page 4 of 5




 1 CCWP has spent significant organizational time and resources meeting and
 2 communicating with members, advocating for individual members, advocating with BOP
 3 for system wide change and accountability and otherwise supporting those in FCI Dublin.
 4                 19.   These additional efforts would be unnecessary if FCI Dublin were to enact
 5 system wide change to address the issues of sexual abuse and retaliation and to provide
 6 confidential reporting mechanisms, and safe and effective third party medical and mental
 7 health treatment.
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     [4339655.1]                                 4                         Case No. 3:23-cv-04155
             DECLARATION OF DIANA BLOCK IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY
                          INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
             Case 4:23-cv-04155-YGR Document 11-3 Filed 08/17/23 Page 5 of 5




1

2    I declare under penalty of perjury under the laws of the United States of America that the

3    foregoing is true and correct to the best of my knowledge, and that this declaration is

4    executed in San Francisco, California this 14th day of August, 2023.

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8                                       Women Prisoners
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     DECLARATION OF DIANA B L O C K ON B E H A L F OF CALIFORNIA COLATION FOR WIMEN PRISONERS
     IN SUPPORT OF PLAINTIFFS' MOTIONS FOR PRELIMINARY INJUNCTION AND PROVISIONAL CLASS
                                            CERTIFICATION
